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iN THE UNITED sTATES DISTRICT coURT SQUTHEHN UISTH*CT OF 'UWA
FoR THE soUTHERN DISTRICT oF ioWA

UNITED STATES OF AMERICA,
CRIMINAL NO. l:lS-er-GO9

V.
INDICTMENT

CARL RUBEN DAVIS, Jr,
T. 18 U.S.C. § 2250(a)
Defendant.

THE GRAND JURY CHARGES:

COUNT 1
(Failure to Register With the SeX Offender Registry)

From an unknown date, but beginning at least as early as December of 2017, up to
and including February 2, 2018, in the Soathern l)istrict of lowa and elsewhere, the defendant,
CARL RUBEN DAVIS, Jr., being a sex offender Who is required to register under the Sex
Offender Registration and Notiflcation Act, did travel in interstate commerce and did knowingly
fail to register and update his registration as required by the Sex Offender Registration and
Notiiication Aet.

This is a violation of Title 18, United States Code, Section 2250(a).

A TRUE BILL.

 

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Marc Kriekbaum
United States Attorney

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